Case 2:05-cV-02267-BBD-tmp Document 15 Filed 07/01/05 Page 1 of 3 Page|D 24

IN THE UNITEI) sTATEs DISTRICT COURT mfg BY -~52 D- C-

 

FoR THE WESTERN DISTRICT oF TENNESS§§ JUL__
WESTERN DIvIsIoN ' ?H 3= 0|
THoMAs & BETTs coRPoRATIoN and : :LH;“ WU§ NOWTOOW
THoMAs & BETTs lNTERNATloNAL, INC., : ` ’ ‘ MS
Plaintiffs, :
v. ; No. 05-02267 DP
HUBBELL INCoRPoRATED and

HUBBELL POWER SYSTEMS, INC.,
Defendants.

THOMAS & BETTS CORPORATION and
THOMAS & BETTS INTERNATIONAL, INC.,

Plaintiffs/Cross-Defendants,
v.

HUBBELL INCORPORATED,

Defendant/Cross~Plaintiff.

 

ORDER FOR ADMISSION PRO HAC VICE

 

Upon motion by counsel, and for good cause Shown, it is hereby

ORDERED that Alfred N. Goodrnan and Mark Steven Bicks of the law firm of Roylance,
Abrams, Berdo & Goodman, LLP, 1300 19th Street, N.W., Suite 600, Washington, D.C. 20036,
are hereby admitted to the bar of this court pro hac vice for the purpose of acting as counsel for
defendants Hubbefl Incorporated and Hubbell Power Systems, Inc. in the above-captioned

mattel'.

  

I ED STAT S DISTR CT JUDGE

Thisdocurnententeredonthedockets l 3 Date: Q(g¢£,. / /7')?70 (/
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with Ru|e 58 and/or 79(3) FHCP on

   

Case 2:05-cV-02267-BBD-tmp Document 15 Filed 07/01/05 Page 2 of 3 Page|D 25

CERTIFICATE OF SERVICE

l hereby certify that I have mailed a copy of the foregoing to: Jeremy G. Alpert, Esq. and
Oscar C. Carr, III, Esq. of Glankler Brown, One Commerce Square, Suite 1700, Memphis, TN
38103; and Charles R. Hoffmaim, Esq., Salvatore J. Abbruzzese, Esq. and Glenn T.
Henneberger, Esq. of Hoffmann & Baron, LLP, 6900 Jericho Tumpike, Syosset, NY 11791-

4407, this 'LW’ day ofJune, 2005.

Douglas F.\I;Iali;ian

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CV-02267 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

